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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

    U.S. NAVY SEALs 1–26, et al.,                    §
                                                     §
         Plaintiffs,                                 §
                                                     §
    v.                                               §    Civil Action No. 4:21-cv-01236-O
                                                     §
    LLOYD J. AUSTIN, III, et al.,                    §
                                                     §
                                                     §
         Defendants.                                 §

                       ORDER ON MOTIONS FOR CLASS CERTIFICATION
                        AND CLASS-WIDE PRELIMINARY INJUNCTION

            Before the Court are Plaintiffs’ Motion to Certify Class (ECF No. 89), filed January 25,

2022, and Plaintiffs’ Motion for Class-Wide Preliminary Injunction (ECF No. 104), filed February

7, 2022.1 Having considered the briefing, the Court concludes that Plaintiffs’ Motion for Class

Certification should be and is hereby GRANTED in part. The Court also GRANTS Plaintiffs’

Motion for Class-Wide Preliminary Injunction, but immediately STAYS the injunction “insofar

as it precludes the Navy from considering respondents’ vaccination status in making deployment,

assignment, and other operational decisions.” Austin v. U.S. Navy SEALs 1–26, ___ S. Ct. ___,

2022 WL 882559 (March 25, 2022).




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 The parties have filed the following briefing related to these two motions: Plaintiffs’ Brief in Support of
Class Certification (ECF No. 90), filed January 25; Defendants’ Response (ECF No. 120), filed February
15; Defendants’ Appendix (ECF No. 121), filed February 15; Plaintiffs’ Reply (ECF No. 136), filed March
1; and Plaintiffs’ Appendix (ECF No. 137), filed March 1; Plaintiffs’ Brief in Support of Class-Wide
Preliminary Injunction (ECF No. 105), filed February 7; Defendants’ Response (ECF No. 129), filed
February 23; Defendants’ Appendix in Support (ECF No. 130), filed February 23; Plaintiffs’ Reply (ECF
No. 133), filed February 28; and Plaintiffs’ Appendix in Support (ECF No. 134), filed February 28.


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       I.      BACKGROUND

       On January 3, 2022, the Court granted Plaintiffs’ Motion for Preliminary Injunction,

enjoining enforcement of the Navy’s COVID-19 vaccination policies against the thirty-five

Plaintiffs, who object to the vaccine on religious grounds. See ECF No. 66. Since then, Plaintiffs

have alleged that Defendants are violating the injunction by preventing some Plaintiffs from

attending training, receiving medical treatment, or returning to their job duties. See Mot. for Order

to Show Cause, ECF No. 95. Defendants claim that Plaintiffs’ allegations are meritless and feared

outcomes are speculative. See Defs.’ Resp. 6–12, ECF No. 110. On January 24, 2022, Defendants

filed a Motion to Stay the injunction, asking the Court to allow Defendants to consider Plaintiffs’

vaccination status when making assignment decisions, including those involving deployment and

training. ECF No. 85. The Court denied Defendants’ Motion on February 13, 2022. See ECF No.

116. Defendants appealed, and the Fifth Circuit likewise denied the Motion to Stay. See U.S. Navy

Seals 1–26 v. Biden, 27 F.4th 336, 2022 WL 594375 (5th Cir. Feb. 28, 2022). On March 7,

Defendants submitted an Application for Partial Stay to the Supreme Court. See Appl. for Partial

Stay, No. 21A477. The Supreme Court granted the partial stay of the preliminary injunction,

“insofar as it precludes the Navy from considering respondents’ vaccination status in making

deployment, assignment, and other operational decisions.” U.S. Navy SEALs 1–26, ___ S. Ct. ___,

2022 WL 882559.

       In the meantime, Plaintiffs decided to pursue a class action on behalf of 4,095 Navy

servicemembers who have filed religious accommodation requests. Pls.’ Class Cert. Br. 7, ECF

No. 90; see Defs.’ Ex. 4, App. 56, ECF No. 121. As of February 3, no requests had been granted,

3,728 had been denied, and 285 remained pending. Defs.’ Ex. 4, App. 56, ECF No. 121.

Servicemembers have appealed 1,222 denials. Id. The Navy has “fully resolved” eighty-one




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appeals with final denials. Id. Meanwhile, the Navy has granted 263 permanent and temporary

medical exemptions to the vaccine requirement. Id. SEALs 1–3 and EOD 1 (“Named Plaintiffs”)

filed this Motion to Certify Class (ECF No. 89) and Motion for Class-Wide Preliminary Injunction

(ECF No. 104), both of which are now ripe for the Court’s review.

       II.     LEGAL STANDARD

               A. Class Certification

       “The class action is ‘an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.’” Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348

(2011) (citation omitted). The party seeking class certification “bear[s] the burden of proof to

establish that the proposed class satisfies the requirements of Rule 23.” M.D. ex rel. Stukenberg v.

Perry, 675 F.3d 832, 837 (5th Cir. 2012). “The decision to certify is within the broad discretion of

the court, but that discretion must be exercised within the framework of rule 23.” Castano v. Am.

Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1996) (citing Gulf Oil Co. v. Bernard, 452 U.S. 89, 100

(1981)). A district court must “look beyond the pleadings to ‘understand the claims, defenses,

relevant facts, and applicable substantive law in order to make a meaningful determination’” of

the certification issues. Stukenberg, 675 F.3d at 837 (internal quotation marks and citation

omitted).

       The Court also “has discretion to modify [a party’s] proposed class and subclass to form

workable class definitions.” Jones v. Realpage, Inc., No. 3:19-cv-2087, 2021 WL 852218 (N.D.

Tex. 2021) (cleaned up) (citing In re Monumental Life Ins., 365 F.3d 408, 414 & n.7 (5th Cir.

2004)). “This discretion extends to creating subclasses, as well as to modifying an approved class.”

William B. Rubenstein, Newberg on Class Actions § 7:27 (5th ed. 2021) (footnote omitted). The

Fifth Circuit provides broad discretion to district courts, permitting them “to limit or modify class




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definitions to provide the necessary precision.” Monumental Life Ins., 365 F.3d at 414 (citing

Robidoux v. Celani, 987 F.2d 931, 937 (2d Cir. 1993) (“A court is not bound by the class definition

proposed in the complaint and should not dismiss the action simply because the complaint seeks

to define the class too broadly.”)).

       Federal Rule of Civil Procedure 23 governs whether a proposed class falls within this

limited exception. “To obtain class certification, parties must satisfy Rule 23(a)’s four threshold

requirements, as well as the requirements of Rule 23(b)(1), (2), or (3).” Maldonado v. Ochsner

Clinic Found., 493 F.3d 521, 523 (5th Cir. 2007). Rule 23(a)’s four threshold requirements are:

       (1) the class is so numerous that joinder of all members is impracticable;
       (2) there are questions of law or fact common to the class;
       (3) the claims or defenses of the representative parties are typical of the claims or defenses
           of the class; and
       (4) the representative parties will fairly and adequately protect the interests of the class.

Fed. R. Civ. P. 23(a). These four threshold conditions are “commonly known as ‘numerosity,

commonality, typicality, and adequacy of representation.’” Flecha v. Medicredit, Inc., 946 F.3d

762, 766 (5th Cir. 2020) (citations omitted). Additionally, the Fifth Circuit has articulated an

“ascertainability” doctrine implicit in Rule 23. John v. Nat’l Sec. Fire & Cas. Co., 501 F.3d 443,

445 (5th Cir. 2007) (“The existence of an ascertainable class of persons to be represented by the

proposed class representative is an implied prerequisite of Federal Rule of Civil Procedure 23.”).

“[T]o maintain a class action, the class sought to be represented must be adequately defined and

clearly ascertainable.” DeBremaecker v. Short, 433 F.2d 733, 734 (5th Cir. 1970) (per curiam).

       A plaintiff seeking certification must also satisfy at least one of the grounds identified in

Rule 23(b). Rule 23(b)(2) applies where the four threshold requirements are met and “the party

opposing the class has acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed. R. Civ. P. 23(b)(2). This requirement is satisfied “when a single injunction or


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declaratory judgment would provide relief to each member of the class.” Wal–Mart, 564 U.S. at

360.

               B. Preliminary Injunction

       A preliminary injunction is an “extraordinary remedy” and will be granted only if the

movants carry their burden on all four requirements. Nichols v. Alcatel USA, Inc., 532 F.3d 364,

372 (5th Cir. 2008). The Court may issue a preliminary injunction if the movants establish (1) a

substantial likelihood of success on the merits; (2) a substantial threat of irreparable harm; (3) that

the balance of hardships weighs in the movants’ favor; and (4) that the issuance of the preliminary

injunction will not disserve the public interest. See Daniels Health Servs., L.L.C. v. Vascular

Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013); see also Fed. R. Civ. P. 65. “The decision

to grant or deny a preliminary injunction is discretionary with the district court.” Miss. Power &

Light Co. v. United Gas Pipe Line, 760 F.2d 618, 621 (5th Cir. 1985).

       The movants must make a clear showing that the injunction is warranted, and the issuance

of a preliminary injunction “is to be treated as the exception rather than the rule.” Miss. Power &

Light, 760 F.2d at 621. “Only in rare instances is the issuance of a mandatory preliminary

injunction proper.” Harris v. Wilters, 596 F.2d 678, 680 (5th Cir. 1979) (per curiam).

       III.    ANALYSIS

               A. Class Certification

       Plaintiffs ask the Court to certify one class and two subclasses: (1) a class of all Navy

servicemembers subject to the vaccine mandate who have submitted religious accommodation

requests (“Navy Class”); (2) a subclass of those “who are now or will be assigned to Naval Special

Warfare/Special Operations” and have submitted religious accommodation requests (“NSW/SO

Subclass”); and (3) a subclass of those “who are now or will be . . . Navy SEALs” and have




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submitted religious accommodation requests (“SEALs Subclass”). Pls.’ Class Cert. Br. 5, ECF No.

90. Defendants argue that Plaintiffs’ proposed classes fail to meet the requirements of Rule 23. In

particular, they claim Plaintiffs’ proposed classes are not ascertainable and do not share common

questions. Defs.’ Class Cert. Resp. 6–7, ECF No. 120.

                   1. Rule 23(a)

                          a. Ascertainability

       Defendants argue that neither of Plaintiffs’ proposed subclasses are ascertainable, because

their membership is constantly in flux. Defs.’ Class Cert. Resp. 10, ECF No. 120. In other words,

there is no way to determine which servicemembers will be assigned to NSW/SO or SEALs. “[T]he

pool of special operator trainees is highly fluid and ever-changing.” Id. (citing Galvez Decl., Ex.

2, ECF No. 121). Plaintiffs respond that the subclasses are necessarily limited to members of the

Navy Class who have already submitted religious accommodation requests. Pls.’ Class Cert. Reply

3, ECF No. 136. Because “[t]he Navy knows and can easily ascertain the number of

servicemembers who have submitted Religious Accommodation requests,” Defendants are in a

better position than anyone to know which servicemembers fall into these subclasses. Id.

       While not a requirement of Rule 23, courts only certify classes ascertainable under

objective criteria. See DeBremaecker, 433 F.2d at 734. “There can be no class action if the

proposed class is ‘amorphous’ or ‘imprecise.’” John, 501 F.3d at 445 n.3. Precisely who will be

assigned to NSW/SO or SEALs is speculative. And while a court “need not know the identity of

each class member before certification,” class members must be ascertainable “at some stage of

the proceeding.” Frey v. First Nat’l Bank Sw., 602 F. App’x 164, 168 (5th Cir. 2015) (internal

quotation marks omitted) (quoting Rubenstein, supra, at § 3:3). It is not possible to ascertain




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potential subclass members, even among those who “are currently serving in units across the

Navy” and may one day join the NSW/SO community.

        However, Plaintiffs’ proposed subclasses do not necessarily fail at this stage. “[H]olding

plaintiffs to the plain language of their definition would ignore the ongoing refinement and give-

and-take inherent in class action litigation. . . . District courts are permitted to limit or modify class

definitions to provide the necessary precision.” Monumental Life, 365 F.3d at 414. Accordingly,

to clear the subclasses of speculation, the Court limits Plaintiffs’ proposed subclasses in the

following way:

        •   The Navy Special Warfare/Special Operations (NSW/SO) Subclass includes all
            members of the Navy Class who (1) are assigned to NSW/SO, and (2) have
            submitted a religious accommodation request concerning the vaccine mandate.

        •   The Navy SEALs Subclass includes all members of the Navy Class who (1) are
            SEALs, and (2) have submitted a religious accommodation request concerning
            the vaccine mandate.

Under these definitions, the members of each subclass are ascertainable. Defendants maintain

records of those who have submitted religious accommodation requests and those who are

presently members of NSW/SO and SEALs. Within the Venn diagram of each of these categories

is an ascertainable subclass.

                            b. Numerosity

        Defendants do not contest that Plaintiffs have satisfied the numerosity requirement under

Rule 23(a). Plaintiffs argue that each class and subclass is so numerous that joinder of all members

is impractical. Pls.’ Class Cert. Br. 6, ECF No. 90. The proposed Navy Class contains

approximately 4,095 servicemembers who have submitted religious accommodation requests

under the vaccine requirement. Id. at 7; see Defs.’ Ex. 4, App. 56, ECF No. 121. According to

Navy records dated February 3, none of these requests have been approved, while 3,728 have been

denied. Of those on appeal, 81 have been denied and another 1,222 are still pending. Id. Plaintiffs


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cannot provide an exact number of NSW/SO and SEALs subclass members, but they anticipate

the number is “over one hundred.” Id.

       Courts have regularly certified classes with far fewer members than the minimum number

asserted by Plaintiffs. See e.g., Mullen, 186 F.3d at 625 (“[T]he size of the class in this case—100

to 150 members—is within the range that generally satisfies the numerosity requirement.”).

However, the actual number of class members is not necessarily “the determinative question, for

‘(t)he proper focus (under Rule 23(a)(1)) is not on numbers alone, but on whether joinder of all

members is practicable in view of the numerosity of the class and all other relevant factors.’”

Zeidman v. J. Ray McDermott & Co., 651 F.2d 1030, 1038 (5th Cir. 1981) (citation omitted).

       Because joinder of all class members is impractical, Plaintiffs’ proposed class and

subclasses clearly satisfy the numerosity requirement.

                          c. Commonality

       Plaintiffs argue that each class and subclass share a number of common questions of law

and fact. In particular, Plaintiffs identify four fact questions related to the Navy’s policies and

practices, and eight additional questions of law under the Religious Freedom Restoration Act

(RFRA) and the Free Exercise Clause of the First Amendment. Pls.’ Class Cert. Br. 8–9, ECF No.

90. “Common questions that apply to all class members involve whether the Navy inappropriately

discriminated against religious belief in compelling vaccination despite those beliefs, refusing to

accommodate those beliefs, and granting exemptions for secular but not religious reasons.” Id. at

13. By addressing these questions, Plaintiffs argue, the “class-wide proceeding [will] generate

common answers apt to drive the resolution of the litigation.” Id. at 8 (citing Wal–Mart, 564 U.S.

at 350).




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        Defendants argue that Plaintiffs fail to satisfy the commonality requirement because RFRA

claims must be assessed on a case-by-case basis, analyzing the sincerity of each servicemember’s

beliefs. See Defs.’ Class Cert. Resp. 11, ECF No. 120 (citing Tagore v. United States, 735 F.3d

324, 328 (5th Cir. 2013)). Defendants contend that Plaintiffs have not shown the accommodation

process is discriminatory or lacks individualized assessment. “Drawing any conclusions from the

available data . . . is entirely unwarranted.” Defs.’ Class Cert. Resp. 14, ECF No. 120. Finally,

Defendants allege that their “detailed, individualized process” allows for “the possibility of

exemptions,” requiring the Court to consider each servicemember’s circumstances on an

individual, not class-wide, basis. Id. at 18.

        Under the commonality requirement, potential class members must show they have

suffered the “same injury” and present common questions capable of class-wide resolution. “In

order to satisfy commonality under Wal–Mart, a proposed class must prove that the claims of every

class member ‘depend upon a common contention . . . that is capable of class-wide

resolution . . . .’” Stukenberg, 675 F.3d at 838 (quoting Wal–Mart, 564 U.S. at 350). This occurs

where “the contention is ‘of such a nature . . . that determination of its truth or falsity will resolve

an issue that is central to the validity of each one of the claims in one stroke.’” Id. (quoting Wal–

Mart, 564 U.S. at 350). Put plainly, “Rule 23(a)(2) requires that all of the class member[s’] claims

depend on a common issue of law or fact whose resolution ‘will resolve an issue that is central to

the validity of each one of the [class members’] claims in one stroke.’” Id. at 840 (quoting Wal–

Mart, 564 U.S. at 350). And a court’s “obligation to perform a ‘rigorous analysis’” of the

commonality prong may “entail some overlap with the merits of the plaintiff’s underlying claim.”

Id. (quoting Wal–Mart, 564 U.S. at 350).




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       Here, the potential class members have suffered the “same injury,” arising from violations

of their constitutional rights. Each has submitted a religious accommodation request, and each has

had his request denied, delayed, or dismissed on appeal. Exactly zero requests have been granted.

And while Defendants encourage this Court to disregard the data, it is hard to imagine a more

consistent display of discrimination. As previously explained in this Court’s preliminary injunction

order, Plaintiffs have suffered the serious injury of infringement of their religious liberty rights

under RFRA and the First Amendment.

       The crisis of conscience imposed by the mandate is itself an irreparable harm. See
       BST Holdings, LLC v. Occupational Safety & Health Admin, 17 F.4th 604, 618 (5th
       Cir. 2021); Sambrano v. United Airlines, 19 F.4th 839, 842 (5th Cir. 2021) (Ho, J.,
       dissenting) (citing Sampson v. Murray, 415 U.S. 61, 92 n.68 (1974)). “The loss of
       First Amendment freedoms, for even minimal periods of time, unquestionably
       constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality
       opinion). The same is true of RFRA. Opulent Life Church v. City of Holly Springs,
       697 F.3d 279, 295 (5th Cir. 2012).

Order 24, ECF No. 66. Plaintiffs may experience diverse damages as a result of their beliefs, but

they have suffered the same core injury. See In re Deepwater Horizon, 739 F.3d, 810–11 (5th Cir.

2014) (explaining that the “same injury” requirement is satisfied “even when the resulting injurious

effects—the damages—are diverse.”).

       Plaintiffs’ claims are also capable of class-wide resolution. A finding in favor of the Named

Plaintiffs on their RFRA and First Amendment claims also resolves the RFRA and First

Amendment claims of the class. “The bottom-line question under commonality and typicality is

whether the relief the named plaintiffs seek from the Court will resolve all class members’ legal

claims.” Vita Nuova, Inc. v. Azar, No. 4:19-cv-532, 2020 WL 8271942, at *8 (N.D. Tex. Dec. 2,

2020). By resolving the Navy Class’s common questions, this Court may provide relief to all

servicemembers in the class and subclasses. The inverse is not necessarily true. The NSW/SO

Subclass presents questions that specifically address the heightened physical standards required of



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special operations personnel. In other words, that portion of the MANMED is not applicable to the

entire Navy Class. Regardless, by resolving the Navy Class’s questions, the Court can provide

relief to the NSW/SO Subclass simultaneously—even without resolving the special operations

medical waiver question.2

        Finally, Defendants argue there is a need for individualized assessment of potential class

members’ sincerity prior to certification. See Defs.’ Class Cert. Resp. 11–12, ECF No. 120. The

Court disagrees. The sincerity inquiry under RFRA is not an exacting one. See, e.g., Burwell v.

Hobby Lobby Stores, Inc., 573 U.S. 682, 725 (2014) (In evaluating sincerity, the Court’s “narrow

function” is to determine whether the plaintiffs’ asserted religious belief “reflects ‘an honest

conviction.’” (citation omitted)); Moussazadeh v. Tex. Dep’t of Crim. Just., 703 F.3d 781, 791–92

(5th Cir. 2012) (“Sincerity is generally presumed or easily established,” and courts must handle

the sincerity inquiry “with a light touch, or ‘judicial shyness.’”).

        The Court need not consider the sincerity of each individual’s beliefs prior to certification.

See Bear Creek Bible Church v. EEOC, No. 4:18-cv-00824, 2021 WL 5449038 (N.D. Tex. Nov.

22, 2021). Even so, Plaintiffs and potential class members have provided evidence of sincerity in

the process of applying for religious accommodation. As part of the Navy’s accommodation

process, applicants must interview with a chaplain, who completes both a checklist and

memorandum attesting to the “sincerity” of the applicant’s beliefs. See ECF No. 62. In short,

everyone eligible for the class has submitted a religious accommodation request, and no one may

submit that request without a chaplain’s memorandum attesting to the applicant’s sincerity. Thus,



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 As addressed in the Order on Motion to Stay (ECF No. 116), issued February 13, 2022, the parties present
conflicting interpretations of Trident Order #12 and MANMED § 15-105. But this Court determined that it
need not resolve the dispute at this stage. Although the First Amendment claim triggers strict scrutiny when
a regulation is not neutral and generally applicable, the RFRA claim does not require such a finding; strict
scrutiny is automatically required. Order 6 n.3, ECF No. 116.


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all potential class members have carried their (light) burden of demonstrating their religious beliefs

are sincere.

                            d. Typicality

        The Named Plaintiffs argue that their RFRA and First Amendment claims are typical of

the entire class. Pls.’ Class Cert. Br. 14, ECF No. 90. “The interests of the Named Plaintiffs are

aligned with those of the other class members, and each class member benefits from a declaratory

judgment and injunction that prohibits Defendants from violating their rights.” Id. In response,

Defendants argue that factual differences defeat typicality, because the Named Plaintiffs have a

“wide variety of reasons” for opposing the vaccine. Defs.’ Class Cert. Resp. 19, ECF No. 120.

Among the purported class members, Defendants also identify differences in the members’ (1)

positions within the Navy, (2) current job duties, and (3) geographical locations and contexts. Id.

For these reasons, Defendants argue the Court must analyze each servicemember’s circumstances,

and therefore this litigation is not appropriate for class resolution.

        “The commonality and typicality requirements of Rule 23(a) tend to merge.” Gen. Tel. Co.

of Sw. v. Falcon, 457 U.S. 147, 158 n.13 (1982). “Both serve as guideposts for determining whether

under the particular circumstances maintenance of a class action is economical and whether the

named plaintiff’s claim and the class claims are so interrelated that the interests of the class

members will be fairly and adequately protected in their absence.” Id. “Like commonality, the test

for typicality is not demanding. It ‘focuses on the similarity between the named plaintiffs’ legal

and remedial theories and the theories of those whom they purport to represent.’” Mullen v.

Treasure Chest Casino, 186 F.3d 620, 625 (5th Cir. 1999). “[T]he critical inquiry is whether the

class representative’s claims have the same essential characteristics of those of the putative class.

If the claims arise from a similar course of conduct and share the same legal theory, factual




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differences will not defeat typicality.” James v. City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001)

(internal quotation marks omitted) (quoting 5 James Wm. Moore et al., Moore’s Federal Practice

¶ 23.24[4] (3d ed. 2000)).

        The Named Plaintiffs seek relief on RFRA and First Amendment grounds. These are “the

precise claim[s] that the Named Plaintiffs seek to litigate on behalf of other members of the Navy

Class, the [NSW/SO] Subclass and the Navy SEALs Subclass.” Pls.’ Class Cert. Br. 14, ECF No.

90. Thus, the Named Plaintiffs’ claims are typical of—in fact, identical to—those of the entire

class. The factual circumstances need not be identical for each of the class members; some

variation among members is permissible. See Bear Creek, 2021 WL 5449038 at *16 (certifying a

class containing diverse members of Catholic, United Methodist, and Southern Baptist faith

traditions).

        Defendants suggest that the class members’ different roles, job duties, and locations are

“essential for determining the elements of [each] individual’s RFRA claim.” Defs.’ Class Cert.

Resp. 19, ECF No. 120. But in the Navy’s own analysis, such distinctions make no difference.

Defendants admit that the goal of the Standard Operating Procedure (SOP) is efficiency, not

nuanced review. The SOP is “merely an administrative tool to efficiently adjudicate the

unprecedented amount of requests.” Defs.’ Class Cert. Resp. 16, ECF No. 120; see Ex. 1, ECF No.

62. While the SOP touts “case-by-case review,” it calls for pre-drafted denial letters. Ex. 1, ECF

No. 62. Perhaps the Navy actually weighed each applicant’s beliefs and circumstances. But

granting none of 4,095 religious accommodation requests suggests otherwise.

        Factual differences do not defeat typicality. All members of the class have unsuccessfully

requested religious accommodation. The Named Plaintiffs’ claims “have the same essential




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characteristics” of the Navy Class and subclasses. See James, 254 F.3d at 571. Thus, despite factual

differences, the Named Plaintiffs’ causes of action are typical of the class.

                              e. Adequacy

          Having established that the Named Plaintiffs’ claims are common and typical, the Court

now assesses the adequacy of representation. Under the adequacy requirement, courts consider

“(1) the zeal and competence of the representatives’ counsel; (2) the willinginess [sic] and ability

of the representatives to take an active role in and control the litigation and to protect the interests

of absentees; and (3) the risk of conflicts of interest between the named plaintiffs and the class

they seek to represent.” Slade v. Progressive Sec. Ins., 856 F.3d 408, 412 (5th Cir. 2017) (cleaned

up) (citation omitted)

          Plaintiffs argue representation is adequate because (1) Plaintiffs’ counsel satisfies the “zeal

and competence” requirement, (2) the Named Plaintiffs have already shown their willingness to

pursue the litigation despite substantial professional risk, and (3) there is no conflict of interest

between Named Plaintiffs and the members of the proposed class and subclasses. Pls.’ Class Cert.

Br. 14–16, ECF No. 90. Defendants argue that conflicts may arise between Named Plaintiffs and

the potential class members for two reasons. First, other servicemembers across the country have

filed seven similar lawsuits challenging the military’s COVID-19 vaccine mandates. Defs.’ Class

Cert. Resp. 22, ECF No. 120. And second, the Named Plaintiffs are proceeding pseudonymously,

making it difficult for potential class members to know who is representing them and whether

conflicts exist. Id. at 23. Defendants also contest venue and ripeness.3 Id.

          Simultaneous litigation in other courts does not present a conflict here. To the contrary, the

injunctive relief that Plaintiffs seek will benefit all religiously opposed Navy servicemembers who



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    The Court will address venue and ripeness in a forthcoming order on Defendants’ Motion to Dismiss.


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are presently involved in other vaccine mandate litigation. Potential class members will not be

harmed by class-wide relief.4 Likewise, Plaintiffs here will benefit from injunctive relief granted

in other courts. For example, the Named Plaintiffs and potential class members here would benefit

from a class-wide injunction protecting “all United States Armed Forces servicemembers and

civilian federal employees and contractors who are subject to Defendants[’] COVID-19 Vaccine

Mandate, have requested a religious exemption or accommodation from the Mandate based on

sincerely held religious beliefs against receiving a COVID-19 vaccine, and been denied such

exemption or accommodation.” See Navy SEAL 1 v. Biden, 8:21-cv-02429, Pls.’ Mot. Certify Class

ECF No. 35 (M.D. Fla.).

        Defendants’ claim that some potential class members may prefer to litigate independently

or avoid legal action altogether, “preferring to comply with a lawful order after their administrative

claim is decided and maintain their military service without litigation, or . . . choose to leave the

service or retire.” Defs.’ Class Cert. Resp. 22, ECF No. 120. If—and indeed, if—such

servicemembers exist, they may choose to get vaccinated, withdraw their religious accommodation

requests, voluntarily separate, or proceed with retirement plans. The potential class members, then,

are those who seek to remain in the Navy and refuse to compromise their religious beliefs (i.e.,

continue to forgo the vaccine). That group is intently interested in the relief the Named Plaintiffs

seek, especially as the Navy begins to involuntarily separate unvaccinated sailors.


4
  As in Miller v. Vilsack, this Rule 23(b)(2) class seeks purely injunctive relief and thus is not one that
Plaintiffs may opt out of. See 4:21-cv-00595-O (N.D. Tex. Oct. 13, 2021) (“Movants cannot explain how
they could, as a practical matter, be excluded from the certified classes. . . . Presumably, opting out would
mean that Defendant could discriminate against Movants on the basis of race.”). Here, opting out of a class-
wide preliminary injunction would “thwart the objectives of representative suits” and expose Plaintiffs to
enforcement of the vaccine mandates despite their religious accommodation requests. In Miller, this Court
denied the Movants’ request to opt out of the class but permitted them to petition the courts in which they
were proceeding individually to go forward with their personal lawsuit. This class certification does not
prevent other judges from handing similar pending cases elsewhere as one district court is not permitted to
interfere with the proceedings of another.


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        Lastly, Defendants argue that potential class members cannot determine the identities of,

and therefore potential conflicts of interest with, the Named Plaintiffs.5 Defs.’ Class Cert. Resp.

23, ECF No. 120. Though proceeding under pseudonyms, Plaintiffs have publicly filed detailed

declarations in which each servicemember describes his role, rank or year of entry, basis for

religious beliefs, and any pertinent details about his religious accommodation request and denial.

See Pls.’ App. Tabs 2–35, ECF No. 17; Supp. Decl. Tabs 1–34, ECF No. 59; Supp. Decl. of SEAL

26, ECF No. 63. This information is arguably more informative and relevant to conflict analysis

than Plaintiffs’ actual names. Equipped with these details about the pseudonymous Plaintiffs,

potential class members can determine whether conflicts exist and whether they agree to

representation.

        Accordingly, the Court concludes that Plaintiffs have satisfied all elements for class

certification for the Navy Class, NSW/SO Subclass, and SEALs Subclass as to the RFRA and First

Amendment claims. The Court now considers whether the elements of Rule 23(b) have been met.

                     2. Rule 23(b)(2)

        Class certification under Rule 23(b)(2) is appropriate if the requirements of 23(a) are

satisfied and “the party opposing the class has acted or refused to act on grounds that apply

generally to the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). To qualify for class-wide




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  Regarding pseudonymous litigation, Defendants cite a single nonbinding case out of the United States
District Court for the District of Wyoming. See Sherman v. Trinity Teen Sols., Inc., 339 F.R.D. 203 (D.
Wyo. 2021). There, the court denied a child abuse victim the opportunity to proceed anonymously, because
allowing potential class members to assess conflicts outweighed any “real threat of imminent physical
danger” to the Plaintiff. Id. at 205–06. Here, the parties have temporarily agreed that Plaintiffs may proceed
pseudonymously but must disclose their identities to Defendants. See ECF Nos. 34, 37. The Court has not
resolved the pending briefing on Plaintiffs’ Motion. See ECF No. 26. But in the meantime, Plaintiffs have
also filed detailed declarations, so even while they remain anonymous, there is little concern that potential
class members will be unable to assess conflicts. Regardless, Sherman does not bind this Court.


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injunctive relief, class members must have been harmed in essentially the same way, and injunctive

relief must predominate over monetary damages. Bolin v. Sears, Roebuck & Co., 231 F.3d 970,

975–76 (5th Cir. 2000). In other words, “the relief sought must perforce affect the entire class at

once . . . .” Wal–Mart, 564 U.S. at 361–62. Additionally, the injunctive relief order must be

specific. Fed. R. Civ. P. 65(d); see also Ala. Nursing Home Ass’n v. Harris, 617 F.2d 385, 387–88

(5th Cir. 1980).

       Plaintiffs argue Defendants have “acted or refused to act on grounds that apply generally

to the class” by mandating the vaccine despite sincere religious objections and issuing across-the-

board denials of religious accommodation requests, while simultaneously granting secular

exemptions. Pls.’ Class Cert. Br. 17, ECF No. 90. Defendants argue that “Plaintiffs attempt to

litigate a broad swath of different factual circumstances in one fell swoop.” Defs.’ Class Cert.

Resp. 25, ECF No. 120. Once again, Defendants point to their “case-by-case” analysis to suggest

that this analysis must be individualized and cannot be resolved on a class-wide basis. Id.

       The Named Plaintiffs and potential class members have all been harmed in essentially the

same way. Each is subject to the Navy’s COVID-19 vaccine mandates. Each has submitted her

religious accommodation request, and none has received accommodation. Without relief, each

servicemember faces the threat of discharge and the consequences that accompany it. Even though

their personal circumstances may factually differ in small ways, the threat is the same—get the jab

or lose your job. See BST Holdings, 17 F.4th at 618. By uniformly denying potential class

members’ religious accommodation requests, the Navy has “acted . . . on grounds that apply

generally to the class.” And because potential class members may receive relief from a single

injunction, the claim is appropriate for class-wide resolution under Rule 23(b)(2).




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                     3. Rule 23(g)

          Finally, Plaintiffs request that the Court appoint its counsel to represent the class and

subclasses. Pls.’ Class Cert. Br. 18, ECF No. 90. Under Rule 23(g), “a court that certifies a class

must appoint class counsel.” Fed. R. Civ. P. 23(g)(1). In doing so, “the court must consider: (i) the

work counsel has done in identifying or investigating potential claims in the action; (ii) counsel’s

experience in handling class actions, other complex litigation, and the types of claims asserted in

the action; (iii) counsel’s knowledge of the applicable law; and (iv) resources that counsel will

commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A).

          Defendants do not oppose Plaintiffs’ request to appoint class counsel. The Court finds that

Plaintiffs’ counsel is qualified to represent the interests of the class and subclasses. Plaintiffs’

counsel has experience litigating complex matters and has expertise in First Amendment and

RFRA litigation. Plaintiffs’ counsel has identified and investigated all claims and have committed

sufficient resources to this action.

                 B. Class-Wide Preliminary Injunction

          Having certified the proposed class and subclasses, the Court now turns to Plaintiffs’

Motion for Class-Wide Preliminary Injunction. ECF No. 104. Plaintiffs ask this Court to extend

the existing preliminary injunction to the entire class. Id.; see ECF No. 66. As in previous briefing,

Defendants contend that Plaintiffs have not exhausted their intra-military remedies, and thus, their

claims are nonjusticiable. Even if these claims are reviewable, Defendants argue, a preliminary

injunction would be inappropriate, because Plaintiffs are unlikely to succeed on the merits of their

claims.

          As in the initial preliminary injunction, the threshold question before the Court is whether

Plaintiffs’ class-wide claims are justiciable under the Mindes test.




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                           1. Justiciability Under Mindes

        Defendants argue that this case is nonjusticiable because Plaintiffs have not exhausted

military remedies, and because the Court must not intrude on military decision-making authority.

Defs.’ Class P.I. Resp. 13–14, ECF No. 129. Each of the Named Plaintiffs and the class members

have, by definition, submitted religious accommodation requests. According to the latest numbers

in the briefing, the Navy has denied 3,728 of these 4,095 requests. It has granted none. Defendants

say the Court must wait for the Navy to decide each request, because otherwise, “one can only

speculate as to the final outcome of any proceedings.” Id. at 12 (quoting Smith v. Harvey, 541 F.

Supp. 2d 8, 13 (D.D.C. 2008)).

        The record indicates the denial of each request is predetermined. This is even more evident

today than it was at the time of the Court’s January 3 Order, when the Navy had made no final

determinations on appeal. See Order 4, ECF No. 66. Now, the Navy has finally adjudicated at least

eighty-one appeals by denying each of them. Even though the Navy has adjudicated thousands of

requests, it has not granted a single one. These class members need not wait for the Navy to engage

in even more empty formalities. Because exhaustion is futile and will not provide complete relief,

the case is justiciable.

        Though courts generally refrain from reviewing internal military affairs, Orloff v.

Willoughby, 345 U.S. 83, 93 (1953), the issue at hand is appropriate for judicial review. U.S. Navy

SEALs 1–26, 27 F.4th at 347–48. Like the Named Plaintiffs, the members of the Navy Class

(1) have undisputedly alleged violations of their constitutional rights under the First Amendment

and RFRA, and (2) need not exhaust administrative remedies, because the Navy’s review process




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inevitably results in a denial.6 The evidence overwhelmingly indicates that class members’

requests and appeals will be summarily denied with “boilerplate” language and “simplistic”

analysis.7 Pls.’ Class P.I. Reply 10, ECF No. 133. Thus, both criteria under Mindes have been

satisfied. See Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir. 1971).

        The Court then weighs four factors to determine whether the issue is justiciable: (1) the

nature and strength of the plaintiffs’ challenge; (2) the potential injury to the plaintiffs if review is

refused; (3) the type and degree of anticipated interference with the military function; and (4) the

extent to which the exercise of military expertise or discretion is involved. Id. at 201–02. Each of

these factors suggest that the class’s claims are justiciable.

        First, the nature and strength of the Navy Class’s claims weigh in favor of judicial review.

As to the nature of the claim, “[c]onstitutional claims [are] normally more important than those

having only a statutory or regulatory base.” Id. at 201. But “not all constitutional claims are to be

weighed equally.” NeSmith v. Fulton, 615 F.2d 196, 201 (5th Cir. 1980). Courts tend to favor

review of constitutional claims “founded on infringement of specific constitutional rights” such as

the First Amendment freedoms at issue here. Id. at 201–02. Plaintiffs move for a class-wide

preliminary injunction based on specific violations of their constitutional rights under the Free

Exercise Clause and RFRA. These claims fall squarely in the category of claims most favorable to

judicial review.




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  Plaintiffs need not exhaust military remedies “when resort to the administrative reviewing body would be
futile.” Hodges v. Callaway, 499 F.2d 417, 420 (5th Cir. 1974). They are required to exhaust only those
remedies that would “provide a real opportunity for adequate relief.” Id.
7
  For example, after a class member’s request was denied on appeal, he submitted a renewed request based
on changed circumstances under BUPERSINST 1730.11A. The servicemember had contracted COVID in
January 2022 and reported this development, alleging a change in physical circumstances (i.e., new natural
immunity). Pls.’ Class P.I. App. 105, Decl. of De Sousa, ECF No. 134. The Deputy Chief of Naval
Operations denied his renewed request with a form letter stating that there had been “no substantive
changes” to his circumstances, physical or otherwise. See id. at 125.


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       Second, the potential injury to class members if review is refused weighs in favor of judicial

review. As explained in the Court’s January 3 preliminary injunction order, Plaintiffs are suffering

ongoing injury while waiting for the Navy’s decision. Order 15, ECF No. 66. Likewise, members

of the Navy Class are facing similar consequences for seeking religious accommodation. One

commander was relieved of his duties as his squadron’s executive officer—or second in

command—“while [his] vaccine waiver works its way through the system.” Pls.’ Class P.I. App.

4–5, ECF No. 134. Elsewhere, when an EOD division officer appealed the denial of his religious

accommodation request, his chain of command replaced him, and he was instructed to “get [his]

personal things in order” in preparation for separation from the Navy. Pls.’ Class P.I. App. 132,

ECF No. 134. He is “no longer performing duties that correlate with [his] rank.” Id. Plaintiffs, and

many more class members like them, are experiencing harm simply for asserting their First

Amendment rights.

       Third, the type and degree of anticipated interference with the military function weighs in

favor of judicial review. “Interference per se is insufficient since there will always be some

interference when review is granted.” Mindes, 453 F.2d at 201. Whether denying religious

accommodations violates the First Amendment is a distinct legal question that would not

“seriously impede the military in the performance of vital duties.” Id. Insofar as an injunction

“precludes the Navy from considering respondents’ vaccination status in making deployment,

assignment, and other operational decisions,” this Court will partially stay the order. U.S. Navy

SEALs 1–26, ___ S. Ct. ___, 2022 WL 882559.

       Fourth, the extent to which the exercise of military expertise or discretion is involved

weighs in favor of review. “Courts should defer to the superior knowledge and experience of

professionals in matters such as promotions or orders directly related to specific military




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functions.” Mindes, 453 F.2d at 201–02. Of course, “judges don’t make good generals,” but “it’s

a two-way street: Generals don’t make good judges—especially when it comes to nuanced

constitutional issues.” U.S. Navy SEALs 1–26, 24 F.4th at 349; see also Air Force Officer v. Austin,

___ F. Supp. 3d ___, 2022 WL 468799 (M.D. Ga. Feb. 15, 2022).

        Thus, Plaintiffs have satisfied all four Mindes factors, and the claims of the Navy Class are

justiciable.

                       2. Members of the Navy Class and Subclasses are likely to succeed on
                          the merits.

        Having established that Plaintiffs class-wide claims are justiciable, the Court must consider

the first of the four requirements under the preliminary injunction standard: whether Plaintiffs have

established a “substantial likelihood of success on the merits.” Daniels Health Scis., 710 F.3d at

582. This Court has already determined that Defendants have substantially burdened Plaintiffs’

religious beliefs, and thus strict scrutiny applies. Order 18, ECF No. 66. The Navy has not

conducted individualized assessment of class members’ religious accommodation requests, which

demonstrates “a pattern of disregard for RFRA rights.” U.S. Navy SEALs, 24 F.4th at 352. Because

the Navy continues to treat those with secular exemptions more favorably than those seeking

religious exemptions, strict scrutiny is triggered. Defendants fail to show a compelling interest.

                                 a.   Religious Freedom Restoration Act

        Under the Religious Freedom Restoration Act, the “[g]overnment may substantially burden

a person’s exercise of religion only if it demonstrates that application of the burden to the person—

(1) is in furtherance of a compelling governmental interest; and (2) is the least restrictive means of

furthering that compelling governmental interest.” 42 U.S.C. § 2000bb-1. “RFRA undoubtedly

‘applies in the military context.’” U.S. Navy SEALs, 24 F.4th at 346 (quoting United States v.

Sterling, 75 M.J. 407, 410 (C.A.A.F. 2016)).



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       The Navy has substantially burdened each class members’ religious beliefs by threatening

his job and “putting substantial pressure on [the] adherent to modify his behavior and to violate

his beliefs.” Thomas v. Rev. Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 718 (1981). The Named

Plaintiffs and a number of class members have already provided evidence of demotions,

reassignments, threat of separation, and other punitive measures as a result of their religious

accommodation requests. See Supp. App. 1032, 1096, 1107, 1126, ECF No. 59; Compl., Ex. 3,

ECF No. 1-3; Pls.’ Class P.I. App. 4–5, 105, 132, ECF No. 134.

       Plaintiffs claim that “Defendants are not individually assessing any requests for religious

accommodation, and instead are merely denying all requests based on identical rationale.” Pls.’

Class P.I. Br. 3, ECF No. 105. In response, Defendants echo previous arguments that stemming

the spread of COVID-19 is a compelling interest, and that “[t]he stronger the compelling

governmental interest, the less likely any individual request will be approved.” Defs.’ Class P.I.

Resp. 23, ECF No. 129.

       Even so, the Navy must demonstrate a compelling interest in enforcing its vaccination

policies—not merely a generalized interest, but one particular to each servicemember. U.S. Navy

SEALs, 24 F.4th at 351 (citing Fulton v. City of Phila., 141 S. Ct. 1868, 1881 (2021)). This Court

found that Defendants could not present a compelling interest with respect to the thirty-five

Plaintiffs seeking preliminary injunction of the mandates. Order 19, ECF No. 66. Now, Defendants

argue that “allowing up to 4,000 service members to go unvaccinated and to potentially deploy

unvaccinated would ‘severely undermine military readiness.’” Defs.’ Class P.I. Resp. 26, ECF

No. 129 (quoting Decl. of Caudle, App. 17, ECF No. 130). Defendants’ efforts to vaccinate the

force have been overwhelmingly successful. Indeed, all 4,095 class members are part of the

“vanishingly small 0.6%” of the Navy that remains unvaccinated. Order 16, ECF No. 66. Many of




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these class members already have natural immunity, thereby bolstering—not undermining—the

Navy’s goal of “stemming the spread of COVID-19 and maintaining a medically fit force.” Defs.’

Class P.I. Resp. 23, ECF No. 129.

       Defendants argue that “[i]n the deadly business of protecting our national security, we

cannot have a Sailor who disobeys a lawful order to receive a vaccine because they harbor a

personal objection any more than we can have a Sailor who disobeys the technical manual for

operating a nuclear reactor because he or she believes they know better.”8 Decl. of Caudle 16, Ex.

1, ECF No. 130. But the Navy’s willingness to grant hundreds of permanent and temporary

medical exemptions belies this insistence on complete uniformity and widespread vaccination.

Defs.’ Ex. 4, App. 56, ECF No. 121. It is “illogical . . . that Plaintiffs’ religious-based refusal to

take a COVID-19 vaccine would seriously impede military function when the Navy has over 5,000

servicemembers still on duty who are just as unvaccinated as the Plaintiffs.” U.S. Navy SEALs, 24

F.4th at 349 (cleaned up).

       For these reasons, the Court finds that Defendants do not demonstrate a compelling interest

to overcome the class members’ substantial burden. Without a compelling interest, the Court need

not address whether Defendants have used the least restrictive means.

                                 b.    First Amendment

       The Court finds that the class prevails on the First Amendment claim for the same reasons

it succeeds on its RFRA claim. The Navy’s mandate is not neutral and generally applicable.

Moreover, Defendants cannot carry their burden to demonstrate a compelling interest.

       “[G]overnment regulations are not neutral and generally applicable, and therefore trigger

strict scrutiny under the Free Exercise Clause, whenever they treat any comparable secular activity


8
  The Court notes that Plaintiffs refuse vaccination based on sincerely held religious belief—not mere
“personal objection.” The former has long been afforded constitutional protections. The latter has not.


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more favorably than religious exercise.” Tandon v. Newsom, 141 S. Ct. 1294, 1296 (2021). The

Navy’s vaccine requirement blatantly treats those who applied for medical exemptions more

favorably than the class members here. “For one thing, requests for medical exemptions were

seriously considered, and quite a few were granted, at least on a temporary basis.” U.S. Navy

SEALs 1–26, ___ S. Ct. ___, 2022 WL 882559, at *5 (Alito, J., dissenting). Some factual debate

exists as to whether those seeking medical exemptions are subject to the separate waiver

requirement. See Order on Motion to Stay 6 n.3, ECF No. 116. Regardless, the record presents no

evidence that servicemembers with pending medical exemptions are facing the same injuries as

Plaintiffs, who have been denied opportunities for training and advancement, removed from

leadership positions, demoted, and prepared for the separation process. See Order 23, ECF No. 66.

       As discussed in the prior section, Defendants fail to satisfy the compelling interest

requirement, so there is no need to consider least restrictive means. Plaintiffs have established a

substantial likelihood of success on the merits of the class’s RFRA and First Amendment claims,

satisfying the first requirement of the preliminary injunction standard.

                       3. The class members are being irreparably harmed.

       Under the second prong of the preliminary injunction standard, the movants must establish

a substantial threat of irreparable harm. The class members satisfy the irreparable injury

requirement for the same reasons Plaintiffs have done so. “The loss of First Amendment freedoms,

for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns,

427 U.S. 347, 373 (1976) (plurality opinion). The same is true of RFRA. Opulent Life Church v.

City of Holly Springs, 697 F.3d 279, 295 (5th Cir. 2012). Any losses the class members have

suffered in connection with their religious accommodation requests sufficiently demonstrate

irreparable injury, even if injuries like demotion, reassignment, and separation are otherwise




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compensable. See Order 24, ECF No. 66. Thus, the second requirement for injunctive relief has

been satisfied as to the class and subclasses.

                       4. The balance of hardships weighs in the class members’ favor, and
                          the issuance of the preliminary injunction will not disserve the
                          public interest.

       The final two elements of the preliminary injunction standard—the balance of the harms

and whether an injunction will disserve the public interest—must be considered together. “These

factors merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009). This injunction does not disserve the public interest because it prevents constitutional

deprivations. See Jackson Women’s Health Org. v. Currier, 760 F.3d 448, 458 n.9 (5th Cir. 2014).

As this Court has explained, “Plaintiffs’ loss of religious liberties outweighs any forthcoming harm

to the Navy.” Order 26, ECF No. 66. By early November, 99.4% of active-duty Navy

servicemembers had been fully vaccinated, and that percentage is likely even higher today. The

Navy has had extraordinary success in vaccinating its force. Yet Defendants’ briefing and

declarations describe a catastrophic future if these class members remain unvaccinated. See Defs.’

Class P.I. Resp. 29–30, ECF No. 129. Fortunately, Defendants’ predictions are highly speculative.

       Defendants have repeatedly argued that Plaintiffs can only speculate as to the final outcome

of the appeals proceedings. Id. at 12. But Plaintiffs are statistically far more likely—in fact, almost

guaranteed—to be denied a religious accommodation request than to contract a severe case of

COVID-19. Plaintiffs’ vaccinated colleagues are becoming infected and contributing towards the

“massive loss of time and readiness” that the Navy fears. See id. at 29. Defendants’ claims that the

unvaccinated class members “present an unacceptable risk to naval operations” is hyperbolic,

especially because these servicemembers successfully carried out their tasks in the pre-vaccine era

of the pandemic. Id. at 30; see U.S. Navy Seals 1–26, 27 F.4th at 343.




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       Since this Court issued its January 3 preliminary injunction order, COVID-19 cases have

dropped dramatically worldwide. The Navy’s interest in vaccinating the remaining 0.6% of its

personnel—or less—does not outweigh the harm Plaintiffs are facing as they try to exercise their

constitutional rights. Thus, the Court finds that the class members have satisfied the final two

requirements for preliminary injunction.

       IV.    CONCLUSION

       For the reasons stated, the Court GRANTS in part Plaintiffs’ Motion for Class Certification

as to the Navy Class, NSW/SO Subclass, and SEALs Subclass, subject to the amended class

definitions removing unascertainable language. The Court appoints Plaintiffs’ counsel as class

counsel under Rule 23(g). The Court also GRANTS Plaintiffs’ Motion for Class-Wide Preliminary

Injunction. Defendants are enjoined from applying MANMED § 15-105(3)(n)(9); NAVADMIN

225/21; Trident Order #12; and NAVADMIN 256/21 to members of the Navy Class and

Subclasses.

       This class-wide injunction is immediately STAYED in part, “insofar as it precludes the

Navy from considering respondents’ vaccination status in making deployment, assignment, and

other operational decisions.” U.S. Navy SEALs 1–26, ___ S. Ct. ___, 2022 WL 882559.

       SO ORDERED on this 28th day of March, 2022.



                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




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